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       The parties further propose that (i) consistent with the Local Rule 105.3, Marriott be

permitted 35 pages for its opening brief in support of summary judgment, the City of Chicago be

permitted 35 pages for its brief in opposition to summary judgment, and Marriott be permitted 20

pages for its reply in support of summary judgment, and that (ii) Marriott and the City of Chicago

be permitted 15 pages for any challenges to the opposing party’s standing expert and 15 pages to

respond to any challenges to their standing expert.



Dated: July 13, 2021                         Respectfully submitted by:


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                                CERTIFICATE OF SERVICE

       I, Eve-Lynn J. Rapp, hereby certify that on July 13, 2021, I served the above and

foregoing Joint Submission of Proposed Briefing Schedule Regarding Marriott’s Motion for

Summary Judgment on all counsel of record by filing it electronically with the Clerk of the Court

using the CM/ECF filing system.


                                            /s/ Eve-Lynn J. Rapp
